    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 1 of 34 PageID #:199




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

ALEXANDER CARTER (2017-0418233),                     Case No. 19 C 8409

                    Plaintiff,                       Hon. Robert Gettleman

         v.                                          TRIAL BY JURY

COOK COUNTY, ILLINOIS, a municipal
entity, OFFICE OF THE SHERIFF OF COOK
COUNTY, ILLINOIS, an independently
elected county office, and UNKNOWN COOK
COUNTY CORRECTIONAL OFFICERS,
REHABILITATION WORKERS and
GRIEVANCE TEAM MEMBERS, in their
individual capacities,

                    Defendants.


                                 FIRST AMENDED COMPLAINT


         Plaintiff Alexander Carter (“Carter”), by and through his attorneys, brings this Complaint

against Defendants Cook County, Illinois (“Cook County”), Office of the Sheriff of Cook

County, Illinois (“Sheriff Office”) and Unknown Correctional Officers, Rehabilitation Workers

and Grievance Team Members, and for his causes of action, states as follows:

                                        INTRODUCTION

         1.     In the early morning of October 16, 2019, Carter was brutally beaten by his

cellmate at Cook County Jail while he was conducting his Muslim prayer (“Incident”). More

than two weeks prior to the Incident, Carter warned certain Cook County correctional officers

and staff that his cellmate had threatened to beat him and formally requested that he be moved

out of harm’s way. These individuals knowingly and recklessly disregarded Carter’s pleas for

help and continued to keep him in a cell with his cellmate that was talking to himself had




62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 2 of 34 PageID #:200




repeatedly threatened him. Carter’s formal grievance directed to Sergeant Fitzgerald was equally

ignored.

         2.     Carter was rushed to John H. Stroger Jr. Hospital of Cook County for treatment

and observation immediately following the Incident. As a result of the Incident, Carter sustained

8 stitches, swollen eyes, headaches and vision issues, the latter two which he still suffers from to

this day. In fact, Carter was prescribed glasses for his vision issues following the Incident.

         3.     This lawsuit is brought pursuant to 42 U.S.C. § 1983 and state law.

                                  JURISDICTION AND VENUE

         4.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1367(a) as Carter asserts claims under federal and state law.

         5.     Venue is proper under 28 U.S.C. § 1391(b) as Defendant Cook County is

physically situated, and the events at issue occurred, in the judicial district for the Northern

District of Illinois, Eastern Division.

                                             PARTIES

         6.     Carter is a 49 year old male who has been held as a pretrial detainee in the Cook

County Jail since April 18, 2017. At all relevant times, Carter was housed in Division X.

         7.     Defendant Cook County is a county in the State of Illinois.

         8.     Defendant Sheriff’s Office is an independently elected county office which is the

custodian of and oversees the Cook County Department of Corrections, which in turn operates

Cook County Jail. The Sheriff’s Office has final policymaking authority over jail operations.

         9.     Unknown Correctional Officers, Rehabilitation Workers and Grievance Team

Members were, at all relevant times, acting within the scope of their employment at the time of

the events giving rise to the causes of action stated herein. All Unknown Correctional Officers,



                                                  2
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 3 of 34 PageID #:201




Rehabilitation Workers and Grievance Team Members have acted and continue to act under the

color of law in the State of Illinois at all relevant times.

                                    FACTUAL ALLEGATIONS

                                               Division X

         10.      The Cook County Jail is separated into eleven divisions. Division X, is a four-

story maximum-security facility designed to hold more than 750 detainees. In 2008, Division X

was converted to accommodate detainees of all security level classifications.

         11.      During the time and facts giving rise to the Incident, between September 2019 and

the Incident, Carter was housed in Division X, Tier 4-D-8.

              Carter Informs Correctional Officers That He Is At Serious Risk Of Harm

         12.      In late August or early September 2019, Carter’s cellmate was brought into his

cell in handcuffs by Correctional Officers in Division X, Tier 4-D-8.

         13.      At or around the time that Carter received the cellmate, Sergeant Fitzgerald told

Carter that the cellmate was dangerous, not in his right mind, and that he was only going to be

housed with Carter for a short period of time.

         14.      Throughout September 2019, Carter’s cellmate was often talking to himself and

threatening Carter.

         15.      On or about September 29, 2019, Carter’s cellmate was standing over Carter

talking to himself. Carter inquired what his cellmate talking about, to which the cellmate stated

that he would kill Carter and that he did not like Muslims.

         16.      Carter, a Muslim, peacefully de-escalated the situation to avoid any physical

altercation with his cellmate




                                                    3
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 4 of 34 PageID #:202




         17.       On September 29, 2019, Carter submitted an Inmate Grievance Form stating his

fear for safety in light of his cellmate talking to himself and threatening Carter’s safety and well-

being. (A copy of this grievance is attached as Exhibit A).

         18.       Per the September 29, 2019 grievance, an individual with the name “McCoy”

signed as taking receipt of the grievance on September 30, 2019. Id.

         19.       Above McCoy’s signature, the grievance states that “[i]f the inmate grievance is

of a serious nature, the superintendent must initiate immediate action.”

         20.       Upon taking receipt of the Inmate Grievance, Social Worker McCoy reviewed the

grievance and stated to Carter that “this is jail.”

         21.       At no point prior to the Incident did any Defendants provide Carter with a written

response to his September 29, 2019 grievance.

         22.       At no point prior to the incident did any Defendants move Carter or his cellmate

to another cell.

                         Carter Is Beaten By His Cellmate In His Holding Cell

         23.       On October 16, 2019, at approximately 5:00 a.m., while engaged in Muslim

prayer, Carter was brutally beaten by his cellmate.

         24.       Carter was rushed to John H. Stroger Jr. Hospital of Cook County (“Stroger”) for

treatment and observation immediately following the Incident.

         25.       Before being transported to Stroger, none of the Defendants video recorded or

photographed Carter’s injuries.

         26.       Carter sustained 8 stitches, swollen eyes, headaches and vision issues, the latter

two of which he still suffers from to this day.




                                                      4
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 5 of 34 PageID #:203




         27.    Following the incident, Carter was prescribed glasses to help with his vision

issues as a result of the Incident.

         28.    Carter remained at Stroger overnight for observation and was returned to the

Cook County Jail on October 17, 2019.

                 Grievances, Complaints and Jail Responses After The Incident

         29.    Immediately following his return from Stroger, Carter remained separated from

his cellmate.

         30.    On October 18, 2019, Carter filed an Inmate Grievance Form alleging the jail’s

failure to protect him after he filed his September 29, 2019 grievance informing the staff of the

threats and concerns relating to his cellmate. (A copy of this grievance is attached as Exhibit B).

         31.    Per the October 18, 2019 grievance, an individual with the name “CRW. M.

Pratl” signed as taking receipt of the grievance on that day. Id.

         32.    On October 19, 2019, still having heard no response from Cook County Jail

administration, Carter filed another Inmate Grievance Form, again alleging the staff’s failure to

protect him after he filed his September 29, 2019 grievance informing the staff of the threats and

concerns relating to his cellmate. (A copy of this grievance is attached as Exhibit C).

         33.    Per the October 19, 2019 grievance, an individual with the name “CRW. M.

Pratl” signed as taking receipt of the grievance on October 21, 2019. Id.

         34.    On October 21, 2019, the Cook County Jail issued a Grievance Appeal Response,

for which it states the following:

                R./Dir. Carefully reviewed the various allegations listed in these
                attached grievance forms. Due to staff attendance and required
                investigative research, there was a delay in providing a response.
                R/Dir. Cannot substantiate staff misconduct or unprofessionalism;
                however, unintentional human error did occur.

                On behalf of the CCSO-DOC, I apologize.

                                                 5
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 6 of 34 PageID #:204




               R/Dir. Will monitor future CRW and Supervisor compliance with
               the Inmate Grievance process and issue corrective action if
               warranted.

(Emphasis added; a copy of the October 21, 2019 Grievance Appeal Response is attached as

Exhibit D).

         35.   Also on October 21, 2019, Carter filed a third post-Incident Inmate Grievance

Form, again alleging the staff’s failure to protect him after he filed his September 29, 2019

grievance informing the staff of the threats and concerns relating to his cellmate. (A copy of this

grievance is attached as Exhibit E).

         36.   Per the October 21, 2019 grievance, an individual with the name “CRW. M.

Pratl” signed as taking receipt of the grievance on October 22, 2019. Id.

         37.   On October 22, 2019, Cook County Jail issued its Inmate Grievance

Response/Appeal Form, for which it rejected Carter’s inmate appeal, and held that the “[o]riginal

[r]esponse to [s]tand.” (A copy of this response is attached as Exhibit F).

         38.   Accordingly, on October 28, 2019, Carter filed a complaint with the Sheriff’s

Office of Cook County Office of Professional Review Complaint Register against Sergeant

Fitzgerald, alleging Cook County Jail’s failure to protect Carter from the Incident after he filed

his September 29, 2019 grievance informing the staff of the threats and concerns relating to his

cellmate. (A copy of this complaint is attached as Exhibit G).

         39.   On November 6, 2019, Carter filed a second complaint with the Sheriff’s Office

of Cook County Office of Professional Review Complaint Register against one named “McCoy,”

alleging Cook County Jail’s failure to protect Carter from the Incident after he filed his

September 29, 2019 grievance informing the staff of the threats and concerns relating to his

cellmate. (A copy of this complaint is attached as Exhibit H).



                                                 6
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 7 of 34 PageID #:205




                                           COUNT I
      (Failure to Protect a Pretrial Detainee in Violation of the Fourteenth Amendment)

         40.      Carter herein realleges and incorporates paragraphs 1-38 as if fully set forth in

this Count.

         41.      Correctional officers have a duty to take reasonable steps to protect inmates such

as Carter from suffering violence at the hands of other inmates. Unknown Cook County

Correctional Officers violated this duty by, among other things:

               a. Failing and unreasonably refusing to move Carter or his cellmate to separate cells

                  or tiers after Carter had informed them that his cellmate had threatened to

                  physically harm him;

               b. Failing and unreasonably refusing to alert their superiors and those with authority

                  to move Carter or his cellmate to a different tier or cell to the known, serious risk

                  that Carter would be beaten or worse by his cellmate if he remained in the same

                  cell;

               c. Knowingly or with reckless indifference failing to timely intervene to stop

                  Carter’s cellmate from brutally and savagely beating Carter while he was engaged

                  in Muslim prayer.

         42.      Cook County Correctional Rehabilitation Workers and Grievance Team Members

have a duty to process, investigate and respond to inmate grievances, and to take reasonable

steps to protect inmates such as Carter from suffering violence at the hands of other inmates.

Unknown Rehabilitation Workers and Grievance Team Members violated this duty by, among

other things:

               a. Failing and unreasonably processing, investigating and responding to Carter’s

                  September 29, 2019 grievance in a timely manner prior to the Incident;


                                                    7
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 8 of 34 PageID #:206




               b. Failing and unreasonably refusing to alert their superiors and those with authority

                  to move Carter or his cellmate to a different tier or cell to the known, serious risk

                  that Carter would be beaten or worse by his cellmate if he remained in the same

                  cell;

         43.      As a result of the misconduct described in this Count, Carter suffered great mental

anguish, humiliation, degradation, physical and emotional pain and suffering and consequential

damages.

         44.      The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of Carter such that Defendants’ actions shock the

conscience.

         WHEREFORE, Plaintiff Alexander Carter requests:

                  A.      reasonable and appropriate compensatory damages arising from the

                          unlawful and wrongful conduct of Unknown Cook County Correctional

                          Officers, Rehabilitation Workers and Grievance Team Members;

                  B.      punitive damages from these Defendants in an amount to be ascertained at

                          trial;

                  C.      costs, expenses and reasonable attorneys’ fees pursuant to 42 U.S.C.

                          § 1988; and

                  D.      such other relief as this Court deems necessary and proper.

                                     COUNT II
 (Monell Claim Arising From the Deprivation of Carter’s Fourteenth Amendment Rights)

         45.      Carter herein realleges and incorporates paragraphs 1-43 as if fully set forth in

this Count.




                                                    8
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 9 of 34 PageID #:207




         46.      Section 1983 permits the imposition of liability on a municipality if a deprivation

of constitutional rights is caused by a widespread practice that constitutes a municipal policy or

custom.

         47.      Defendants Cook County and the Sheriff’s Office have a widespread, chronic and

deeply entrenched practice of, among other things:

               a. Understaffing correctional officers and other staff at Cook County Jail;

               b. Overcrowding inmates in housing tiers;

               c. Insufficiently supervising housing units, including Division X;

               d. Failing to provide adequate and timely grievance procedures;

               e. Failing to respond or investigate threats of violence made by inmates against other

                  inmates; and

               f. Failing to train Correctional Officers, Rehabilitation Workers, Grievance Team

                  Members and other staff on how to investigate or respond to such threats.

         48.      On information and belief, hundreds of Cook County Jail inmates per year suffer

violence at the hands of other inmates as a direct and proximate cause of these widespread

practices.

         49.      The Incident during which Carter was harmed was directly and proximately

caused by these widespread practices.

         50.      As a result of the misconduct described in this Count, Carter suffered great mental

anguish, humiliation, degradation, physical and emotional pain and suffering and consequential

damages.




                                                    9
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 10 of 34 PageID #:208




         51.   The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of Carter such that Defendants’ actions shock the

conscience.

         WHEREFORE, Plaintiff Alexander Carter requests:

               A.      reasonable and appropriate compensatory damages arising from the

                       unlawful and wrongful conduct of Cook County and the Sheriff’s Office;

               B.      punitive damages from these Defendants in an amount to be ascertained at

                       trial;

               C.      costs, expenses and reasonable attorneys’ fees pursuant to 42 U.S.C.

                       § 1988; and

               D.      such other relief as this Court deems necessary and proper.

                                           COUNT III
                                        (Indemnification)

         52.   Carter herein realleges and incorporates paragraphs 1-50 as if fully set forth in

this Count.

         53.   Pursuant to 745 Ill. Comp. Stat. 10/9-102, Defendant Cook County is empowered

and directed to pay any tort judgment for compensatory damages, as well as any associated

attorneys’ fees and costs, for which it, the Sheriff’s Office or their employees while acting within

the scope of their employment are found liable. Therefore, in the event a judgment for

compensatory damages is entered against Unknown Cook County Correctional Officers,

Rehabilitation Workers and Grievance Team Members, the court should direct Defendant Cook

County to pay the judgment as well as the associated attorneys’ fees and costs.




                                                10
62245389v.2
    Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 11 of 34 PageID #:209




         WHEREFORE, Plaintiff Alexander Carter requests the Court to order Cook County to

pay any judgment for compensatory damages and any associated attorneys’ fees and costs for

which the individual defendants are found liable.



DATED: September 25, 2020                           Respectfully submitted,

                                                    Alexander Carter



                                                    By: /s/ David S. Baffa
                                                        One of Its Attorneys

David S. Baffa
dbaffa@seyfarth.com
Paul J. Yovanic Jr.
pyovanic@seyfarth.com

SEYFARTH SHAW LLP
233 South Wacker Drive
Suite 8000
Chicago, Illinois 60606-6448
Telephone:     (312) 460-5000
Facsimile:     (312) 460-7000




                                               11
62245389v.2
Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 12 of 34 PageID #:210




     EXHIBIT A
                   Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 13 of 34 PageID #:211

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Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 15 of 34 PageID #:213




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 Thegrieved Issue must have occurred within the last 15 calendar days unless the allegadanfeofsewl assault sexual hamssmer t, ss ? al abuse or voyeurism. If the grievance Includes an
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   E®i« shohe la -xi® a t®w qoe:ihBis® eb? BoGqi ®. alwfc listado m^s abajo para obtener un numero de control, para ser apclado y/o agotar todos fos remedies poslbles.
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'iOXcBa-X/REEfB/enBei           (Horad del Incidence)                                                                         (Nambre y/o Identificaddn del Acusado)




 NAMEOFCTAFFORlNMATE(5)HAVINGINFORMATIONREGARDiNGTHISCOMPLAINT:                                                          INMATESKSNATUR£:fF/rmade/Fres<?;:
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            SUPLRINTENDENT/DIRECrOR/OESIGNEE OF A DWSION/UMT MU5TREVIEW AND SIGN ALL GRIEVANCES ALLEGING STAFF USE OF FORCE, STAFF MISCONDUCT


 CRW/PLATOON COUNSELOR {Print p.                                                                                                                           ’ B ‘ ' <aGn a j .-?00 EOU'-pp, ,p p          ’
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(FCN-73)(NOV17)                    v/aaa OOPY. INMATE SERVICES)                         (YaiOWCXJPY-CRW/PLATOON OOUNSELOR)                                                PtrSICCOPY -INMATE)
                 Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 17 of 34 PageID #:215

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                              tINMATEGRIEVAMCEFORM                                           ' 71                                                                                     5^;;

                I THIS SECTION IS TO BE COMPLETED BY INMATE SERVICES.STAFF ONLY I                                          (! Para ser flenado solo par el personal de limate Services!)
  □ Emergen^Giftewice "                                                                                          □ CermakHeaithServices
  □ Grievance                                                                                                    □ Superintendent:
                                                                                                                 □ Other: ___

  PRINT - INMATE LASLNAME (Ap^.do deiPresu):                                    PRINT-BSSLNAME                                                                INMATE B00KINGNUM8ER^deAfeWttr^<fe^i>/




   IV!SIi©W                                                                     LIVING UNIT (Unload);




                             Your                ?.                                 'j                           :.:.c -            jI         J || ||||||^
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 The grieved Issue must have occurred within the last 15 calendar days unless the allegation Is of sexual assault, sexual harassment, sexual abuse or voyeurism. H the grievance Includes an
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                             fe


  El asunto de la queja tlene que satlsfacer todo el ertterio Hsia do mas abajo para obtener un numero de control, para ser apelado y/o agotar todos los remedies poslbtes.
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 El asunto de la queja no puede correspondera asuntos no relaclonadoscon la edred tai como preocupadones sobre to agenda de arre$to,asuntos judldales, oempleados medicos d«
 hospitales perl&ricos, etc.

   QUITO                          (JWQUITO-                  z
 OATEOFWClDm                        TIME OF INCIDENT ;                                                                                       NAME and/or IDENTiFIER(S) OF ACCUSED
 (Fecha del Incldente)              (Horaddeilnddente)                  (lugar Es^ccifico del Inckiente)                                     (Nambre y/o identljlcacion delAcusado}




                                                      1. .       I ■




 NAMEOFSFAFFORINMATEiSjHAVWGINFORMATIONREGARDINGTHISCOMPLAINT:                                                                    INMATESIGNATURl




         SUPERtNTENDEW/DIRECTOR/PESIGNEE OF A D1VISION/UNIT MUST REVIEW ANO SIGN ALL GRIEVANCES AUXGING STAFF USE OF FORCE, STAFF MISCONDUCT
                      AND EMERGENCY GRIEVANCES. IF THE INMATE GMWANCE IS OF A SERIOUS NAWREJMEWERliWENDENTMUST INITIATE IMMEDIATE ACTION.
 CRW/PUiWN ifOUN^LOR (Print |:                                                           SIGNATURE:




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                        Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 18 of 34 PageID #:216

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                                                   INMATEGRIEVANCE FORM
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                        I THIS SECTION IS TO BE COMPLETED BY INMATE SERVICES STAFF ONLY I                                                                                   (! Para ser Uefwtostfopar eipersmalde Inmate Services I)
  u EmergencyGrievance                                                                                                                                          □ Cern
                            nee                                                                                                                                 3 Superintendent: __
  □ Non-CompliantGrievance                                                                                                                                      □ Oth
  PRm^mMATEl^HAME /ApeWoddPresah                                                                                     •   b RIN b - b iyyy yy Od ME ^rtorer Nombrejj


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  DIVISION [DMstfmj;                                                                                                                                                                                          D AWseM;




                                                                                                  GRIEVANCE GUIDELINES AND SUMMAftY OF COMOfiMlI
        :         •      Yourgrteved issue must dd-: all criteria listed behw In ord* r to »s:               a contr d!< to be            ■■ end|/or to exhaust remetfles^                  y
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  The grieved issue must have occurred within the last 15 calendar days unless the allegation d or dmud .i^s^d <si?ua barjssmByst, sexual abuse or voyeurism, if the grievance Inclu des an
  allegation  of sexual
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                             ____________  . ._____ ______ ___abuse
                                                       sexual  _,   or voyeurism notime limits exist. If
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  Thegrteved issue must not be arepeatsubmlsslon ofa grievance that previously received a response and was appealed.
  Thegrleved Issue must not be a repeat submission of a grievance that previouslyrecelveda responseand you chose not to appealtherespor.se within 15 calendar days
   ■"       ■: b- <         . > . . le      ■   ...« ■ bn .■...                 .■■ ba. ■ ...hg            ■ ; -ge                                          '           •
            ■ ■; . ■■   •    ..'. .. . ■   ' ■ " ■ ■■   '..   ' .-. ■             ; ■/. ..       . " "..                                                         :                               y                                          ;




  El asunto de la queja tlene que satlsfacer todo el criterlo llstado m^s abajo para obtener un numero de control, para ser apelado y/o agotar todos los remedies poslblos.
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                                                                         no exlste *    limite. SI usted cree q uflwdrtaunaexcepcl^haWeoveaaunTraba^dordeRehabHitecWnCorrocctenal

 Elasunto de la queja no puede ser una repetiddn de una queja sometlda en los uhlmos 15 dfas calendarlos.
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y H asunto de la queja ro o-odr corresponds 'a asuntos no        dos conlacirceli ako ’nopreocupadonessob > bde arrest^asuntQs judkbte^                                                                                                         »do* m£dfcc$
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 (Fecha del Incldente)                                  (Horad (fenncldet                                         Lugar Especlfico del Incidents)                                      (Cambre y/a IdentdlcQCldn delAaxado)




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                            AND EMERGENCY GRIEVANCES. IF THE INMATE GRIEVANCE IS OF A SERWS NATURE, THE SUPER.WENDENT MUST INIT.ATE WMEO.ATE ACBON.

 Cj^LATOON COUNSELOR (Pr^t)                                                                                                    somuRfc                                                                                                                             RKTIEW*

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 SUPERINTENDENT/ DIRECTOK/GESK iNEEfPHntJ“                                                                                                                                                                             iAtEREVIEWED:




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Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 19 of 34 PageID #:217




     EXHIBIT C
                Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 20 of 34 PageID #:218

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                                  INMATE GRIEVANCE FORM
                                  (Formi'kiriode Civeju <«! Prsso/         ;   j

  O EmergencyGflev^^                                                                                O Cermax Health Services
                                                                                                    □ Superintendent:
  □ N0n*ComplIan£6rievance                                                                          □ Other:

                                                                                                                                      INMATCaPOKiNGNUMBIgWeWflt^^^



  DIVISION (DMsfin);                                                 LIVING UNIT (UnWad):




                                                       GRIEVANCE GUIDELINES AND SUMMARY OF COMPLAINT
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          SUPER!Nr£NDENT/DIR£CTOft/D£SieN£E OF A DIViS!ON/UIMIT MUST REVIEW ANO SIGN AU GRIEVANCES AltEGING STAFF USE OF FORCE, STAFF MISCONDUCT,


                                                                         SIGNATURE:




                                                                        SIGNATURE:                                                         DATE REVIEWED:




(FCN-73)(NOV 17)                       (WHITE OJPY - INMATE 5ERVICES)              (YatOW COPY- CR WXPLATC«jftLC£"jNS:ti'C®;                             (PINKCOPY-INf Mil
                Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 21 of 34 PageID #:219

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              1 THIS SECTION IS TO BE COMPLETED BY INMATE SERVICES STAFF ONLY I                                         >'•'••••-•                            percCTwhfel                    tesjl
                                                                                                              O Cermak Healthservices
    □ Grievance                                                                                               ^Superintendent:
    O Non-Compll^ntGrlevance                                                                                  □ Other:

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    DIVISION (Oi^ldn):                                                 LN NG UNKtUnlMi



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      disdplharyhearlngsofflcer
      di scipihary hearings officer.
     The grieved hsue must ha\« occurred wiihin the last IS eatendarday» unless the a legation Is of sexual assault, sexual harassment, sexual abuse or voyeurism. If the grievance Indudesan
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    Bastmtochh^ue^^erieqi^satlsfacertodDelaHerlaMdDm^ abajo para obtener un numero de control, para ser apebdo y/o agotar todos                                              35 remedies poslbtes.
   El asunto de b que]a no puede ser nlngunode los sigulentestemas, que no se onsMerah quejas farmales: Claslfkaddn del preso Induyendo deslgnaddn del preso, nak morlesgode
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   (TRC/CRW).
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   hospStstes perlf^rkos, etc

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  NAMEOFSTAFFDRINMATE(S)HAVING)NFORMAWNREGARDINGTH15COMPLAINT:                                                                   INM ATE 5« N ATUR E: (Flrma del Presa)
  (Numbiie                                                              |     ■ 3 •;   ;<3;33<




                 ANO £MERGgNC¥ GROArOS, IFTHS INMATE GRIEVANCE IS OF ASERIOUS NATURE, THE WPERWENBENTMU3T INITIATE IMMEDIATE ACTION.
   CMIPUXQVM COUNSELOR (Print):                                                                                                                               WEtWPUTOO^eOUH^DIt



  SUPERINTENDENT/DIRIECTOR/DESIGNEE (Print):                                IBiliijRiig:                                                                     DATEREVIEWED:




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Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 22 of 34 PageID #:220




     EXHIBIT D
Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 23 of 34 PageID #:221



                                      •APPEAL
                                           *S»X




         ®     R./Dir. carefully reviewed the various allegations listed in these
               attached grievance forms. Due to staff attendance and required
               investigative research, there was a delay in providing a response. R/Dir.
               cannot substantiate staff misconduct or unprofessionalism; however,
               unintentional human error did occur.
               On behalf of the CCSO-DOC, I apologize .


         •     R/Dir. will monitor future CRW and Supervisor compliance with the
               Inmate Grievance process and issue corrective action if warranted.




    cc: file
Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 24 of 34 PageID #:222




     EXHIBIT
              Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 25 of 34 PageID #:223

                                                                                                     it #:1 Filed: ...                                                                                         D #:1
                                                                                   de Cook)

                                 INMATEGRIEVANCE FORM : J
                                 (Formal'          ■ eC            e     :so)
                I THIS SECTION IS TO B£ COMPLETED BY INMATE SERVICES STAFF ONLY I                                                        (IParaser lle^o^op^lpe^lde Immte Services!}
    u EmergencyGnevance                                                                                                        □ CermakHealth Services
    □ Grie                                                                                                                     □ Superintendent:
    □ Non                                                                                                                      □ Other:

                                                                                 PRINT - FIRST NAME (Pdmcr Nombrc):                                                       INMATE



• DIVISION/fife/isid n}:                                                         LIVING UNIT (UrMod}:                                                                     OATE|>iJ£bQ;/




i                            Vdur grieved issue tmi&t meet alt criteria Ibte i bebwln erderte be assigned a control#* In he appealed an4/ar to exhaust iemedle$»                                                                    i i              i   ■'
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 Thegrievcd Issue must not be a repeat submission of a gdevancethat previously received a response and you chose not to appeal theresponse within IS calendar days
 Thogdavedissuamustnotcontelnoffenslveorharasslnglanguagfi.                         >         ■                            i                   i        1                         :i       ■             ■             i            ii;i;K:<N:iiiiiilii:i:-
 v''-kaX/-                    noicrmialnmorethanonelssee,                     i''--ii^i^i:i:::^iii:i;' ■'■Hiiiii^kifniiiiiii-i i'Bi^iiii -ikliiiX? ■'■iillNi^::'i:k                      -Bi-'-'i'•■^^^Bilri :'i:ilii^i::?iii- i'    <■       i-kii iiXii



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 El asunto de la queja no puede ser ninguno de los slgulentes temas, que no se consideran quejas formales: Claslflcaddn de! preso Incluyendo designaddn del preso. Tai como rlesgo de
 seguddad o custodla de proteeddn para los presos, o tfedslonesdel off da I de audlenclas dkdpHnarlas para los presos.
 ilasuntode la queja formal dene que cccsr pasadoen Bs xihik x Xs calendsrlasa menoaqueh ecuxacldns«i dec-qcq g«xuaVsexualhostlgamMo, sex(£detiuso.0 voyerlsmo. SI la queja
 fruluye acusadones de acoso sexual, hostlgamiento, voyerlsmo, o abuse, no exlstetlempo limito. Si usted tree que exlstc una oxccpddn, hablo o vaa a unTrabajador ds Reh abllltaddn Correctional
 (TRC/CftW).
 H '^iccai de la queja cc ciciih ser unprepetlcldndeuna queja sometlda ei los dklmoslS dlascalendados. i                                     ; :i    ' 'i • - i'      i<ii|iBiii::iis ii iiixi i 'siii'•           ■
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 Etasunto de h queja no puedeoontener lenguaje            amena
 La solltud de la queh no puede contener mSs de un asunto.
 El asunto do la queja no puede corresponder a asuntos no rclaclonados con la <3 reel tai como preocupadoncs sobre la agenda de arresto, asuntos Jud Id ales, 0 empleados midlcos de
 hospltafesperlterlccsjetc.

 REQUIRED-                         REQUIRS3-                            RCQUIRED-                     ii.;.    ,x
DATE OF INCIDENT                   TIMEOnNaOENT                         SPECIFIC LOCATION OF INCIDENT                                                   NAME and/or IDENTIFIER'S) OF ACCUSED
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                   OTENQENT/DlREaOR/DESIGNEE OF A DMSION/UNIT MUST REVIEW ANO SIGN ALL GRIEVANCES ALLEGING STAFF USE OF FORCE, STAFF MISCONDUCT,




        ■
                   ND EMERGENCY GRIEVANCES. IFTHE INMATE GRIEVANCE IS OF A SERIOUS NATURE, THE SUPERINTENDENTMUST INITIATE IMMEDIATE ACTION.                                                                                              ?




                      ■.?)             S:
                Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 26 of 34 PageID #:224

                                                     -                                V Tt #: 1 Filed: 12/20/19 Page 26 of 39 PagelD #:1
                               ;AV/Mi; SO .r*7 viftdWOd'// O’c/                  Cook)
                               INMATEGRIEVANCEFORM
                               (Forniu                            eso)
                I THIS SECTION IS TO BE COMPtETED BY INMATE SOWICES STAFF ONLY I
     u Emerienq/unevance                                                                                 □ CermakHeafthServices
     □ Grievance                                                                                         □ Superintendent:
     □ Non-CompliantGrievance                                                                            □                      _ . .... ..
     PRINT - INMATE LAST NAME (Apellldo ddPreso):                           PRINT - FJRST^NAM E (Primer Nombrtji                                                                               delPw)




     DIVISION (Division):                                                   LIVING UNTT (Unidad):                                               DATE^oJ;




                                                           GRIEVANCE GUIDELINES AND SUMMARY OF COMPLAINT
                            Your grieved issue must meet all criteria listed below In order to be assigned a control #, to be appealed and/or to exhaust remedies.
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     dlsdpllnaryhearingsofficer.
  'Tv- -. hv--3 issue must have occurred within the last as calendar days unlessthe allegation Is of sexualassault, sexual harassment sexual abuse or voyeudsm* IfthegrlevaBcetncliidesan
                                                    -.  ■                            I                 ■                 •      I
     h i rl    dlssuemus!i c ■ ■ i. • ial uh:nlsslo    - gi■ ■■■ is ■ ■ tflk -■ mIIhln h ■ las I ■■ il m h» ■ »y
   ■ ■ n" ■' ; •. ■ ie .v11 •'■  .i ■■ v. ■.    - ■■■■•- v■. ... ...                   ■..      ;■ ■     5 . ..■• . ... p ated                 .
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 Thegrleved issue must not contain offensive or harassing language.
 Thegrlevancaformmustnotcontalnmorethanonelssue. a                                       ■



     El asunto de la queja ttene que satlsfacer todo el crtterlo llstado m^s abajo para obtener un numero de control, para ser apelado y/o agotar todos los remedies poslbtes
 El asunto de la queja no puede scr nlnguno de los slgulentes temas, que no sc conslderan quejas formales: Claslflcaddn del preso Induyendo deslgnaddn del preso. Tai como rlesgo rfs
                            proitecddnpara los presos, odedslonesdel ofldaldeaudlandasdfsdpllnarlas paralospresos.                 ;-|^<;vv;|vvvv^vv;^                      < .<v<-   •vs||.
 El asunto de la queja formal tlene que habcr pasado en los ultlmos 15 dks calendarfas a monos que la acusacidn sea de acoso sexual, sexual hostlgamlento, watualabuso. O voyerlsmo j mi . .
 Induye acusadones de acoso sexual, hostigamlento, voyerlsmo, o abuso, no exlste tiempo limlte. SI usted cree que exists una excepddn, hable o vea a unTrabajador de Rehabllltacldn Correctional
 (TRC/CRWL                                                                                    ■ J| I
 El asunto de la queja no puede scr una repetlcI6n de una queja somatlda cn los ultlmos 15 dfas calenda rios.
                                                                                       la cual ya ha red bldo una respuesta yfue apdada.
 tl asunto de la queja no puede ser una repetlcldn de una queja prevlamente reclbldayt I:
  £1 esuntode 'a qucja     pu    ser unarepetlddn de una quejaprevlamente retlbayia < ■ aly ■ I a w v I >una respuesta y               1 : ;v;vv.-vSr:vv;;..; pel. :16r sobre la decfsldn dad am
 los 15 dfemlendartos.
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 £1 asunto de la qu eja no puede co 'esponder a asuntosno reladonados con la circel tai como    ►ocupaclones sobre la agenda de art esto, asuntos judlclales, o empkados medicos de
 hospitaler pedf^r cos, etc.

                                   REQUIRED*                      REQUIftEO-                                                   Ipgif ED
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HAM^OFSTAFFC fiINMATEfS) HAVING INFORMATIONREGARDINGTHIS COMPLAINT:                                                       IN MATE SIGNATURE '.(Pirma delPrew)
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            OfflNrtfSN VmmOR/DESIGNEE OF A DWIStON/UBIT MUST REVIEW AND SIGN AU GRIEVANCES AUEGING STAFF USE OF FORCE, STAFF MISCONDUCT,
                   AND EMERGENCE GMEVAHCES. IF THE INMATE GRIEVANCE IS OF A SERIOUS NATURE, THE SUPERINTENDENT MUST INITIATE IMMEDIATE ACTION.
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Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 27 of 34 PageID #:225




     EXHIBIT F
                 Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 28 of 34 PageID #:226

                                                                                           Document #: 1 Filed: 12/20/19 Page 21 of                                                                                          #:1
                                       COOK COUNTY SHERIFF'S OFFICE
                                       (Ofidna DelAlguacil del Condado de Cook}
                                       /■B MlTo f1f EVAlt|| ESP© 111|1                                  E AL FO W

                                       ffo          Lf/t r/o tf         ?J        ?/F      13   :ldn)


     INMATE LAST NAME (Apellido del Pre so)',                                                                                                                                                            ID Numb er /«•* idi-n dpacdmk




    IMMEDIATECRW RESPONSE (if applicable):




    CRW/REFERREDTHIS^RWA^TO (^^p/eSup«rhtendentrCermakHealth Service*}:




    PERSONNEL RESPONDING TO GRIEVANCE (Print)!                                                  SiGNATU^.                                                          DIVj IEPT,                                    DAT




           INMATSS                                                                                                                                                                                                           utipuatafia radblda)




                   ToexhausIt Biimtoistfatlvei tm«dies/grle rance appeals must be made within IS calendar days of the date the Inmate r ^celvedthe response. An
                                           a.llc rcum^tances In order to exhaust administrative remedies.
                       ■   •'■■■   ■         • J    .   .•   W| •   "                             /OS 77/77 7^7777;;7/7,77 (fe /flj                  7- 700:2 OO7777 77    77 77/ O / 7:0 7 7 77 7 7 7.7777. *
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                                       IMMATr* REQUEST FOR AN APPT




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TriTTTTT SERVOS DIRECTOR/DE5K3 NEE’S DECISION PR RECOMMENDATION: (I                                                       KndtiCbdn^rfl^ra- afikidm^raaon^




"T''TT';;T-:TT1T MpS                                         (Admtm stradcr a/sir                                                                                                                                DA^feM;




       NMATE SIGNATURE                                                                                                                                       DATE APPEAL RESPONSE WAS RECEIVED: (Ma «;                        1 la respuesto fue    '' JgJ
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 (FCN-72) (NOV 17)                                                               W IITECOP^         INMATE SERVICES)                                 (YELLC W COPY-C.R.W.)                                             (PI MK OPY-INMATE)
Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 29 of 34 PageID #:227




    EXHIBIT G
         Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 30 of 34 PageID #:228

                  Case: l:19-cv-08409 Document#: 1 Filed: 12/20/19 Page 15 of 39 PagelD #:1



                                       SJHKRW>OFMCB OFCOOK COUNTY

                                                 COMPLAINT REGISTER

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     Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 31 of 34 PageID #:229

                       Case: l:19-cv-08409 Document #: 1 Filed: 12/20/19 Page 16 of 39 PagelD #:1




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RELEVANT MEBIGAL RECORDS REGARDS AW BSAMWATION OR TREAEMEW TO THE SHERIWS
OFFICE INVESTIGATING UNIT TQ BE MADE ^RTOF THE INVESTIGATION.
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                                   Pt^as^ rtiafl your completed, signed and n^rihsd, complalht fom tdi
                                           Cdotk County SherlfF^ Office of Erfcfesfiortal Review                                          Uz/j
                                                                       3026 $'. California                            ’                   1/11
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                                           _MLG <we c&ip^^x»
Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 32 of 34 PageID #:230




    EXHIBIT H
     Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 33 of 34 PageID #:231

                    Case: l:19-cv-08409 Document#: 1 Filed: 12/20/19 Page 17 of 39 PagelD #:1


                                                         SHERIFF’S OFFICE OF COOK COUNTY
                                                          OFFICE OF PROFESSIONAL REVIEW
                                                               COMPLAINT REGISTER

             NAME (Lsm, First, M.l.k            <               AGE;             DATE OF BIRTH:                  HOME#:
                                                                                 i- y<i-        n
     ;I
    'i  HOME A^D^ESSf            W-                             CITY:        .                                   WORWOTHER#:
    4! i 0
     e&                                I   Wocp                 (. khA              >
             STATE:                         7JPC0DK:,           STATE I.RJO                                      STATE OF ISSUANCE:
             S lllCOlA                     'a iQ. W            ■/-(?/ 7:1:7/.
     I HAVE BEEN NOTIFIED THAT, PURSUANT TO 50 1LCS 725/18(b), ANYONE FILING A COMPLAINT AGAINST A SWORN PEACE OFFICER
                                MUST HAVE THE COMPLAINT SUPPORTED BY A SWORN AFFIDAVIT.
             DATE OF INCIDENT:                                                     TIME OF INCIDENT:


             LOCATION OF INCIDENT:


             PROVIDE NAMES, BADGE NUMBERS, SQUAD NUMBER or LICENSE PLATE, anrf/or PHYSICAL DESCRIPTION OF THE OFFICER
    i        AfiAlNST WHOM YOU WISH TO FILE A COMPLAINT:
    e




    Q




             ARE THERE ANY WITNESSES YOU WISH TO BE CONTACTED DURING THE INVESTIGATION?                    YES     EJnO
             IF YES, PROVIDE CONTACT INFORMATION,
             NAME                                       ADDRESS/CITY/STATE/ZIP                                       HOME PHONE#




                            PROVIDE A FULL DETAILED ACCOUNT OF YOUR COMPLAINT AND THE NATURE OF THE INCIDENT




                        -

                       U3o< cis                                              S4S                    5 c>



FOR OFFICE LSK ONLY
DATECO.MFLAlNT RECEIVE^:                                               BY:

f       M:
       Case: 1:19-cv-08409 Document #: 27 Filed: 09/25/20 Page 34 of 34 PageID #:232

                  Case: l:19-cv-08409 Document #: 1 Filed: 12/20/19 Page 18 of 39 PagelD #:1

                                                                Complahit Narrative (Con iinttcd)




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                          DH^ee oh 4" ru^<K/sHi^lu3^vtWcbWr

    PLEASE BE AWARE THAT IF YOU ALLEGE INJURIES AS A RESULT OF THIS INCIDENT, DUE TO FEDERAL
    PRIVACY LAWS ON THE RELEASE OF MEDICAL RECORDS, YOU MUST PROVIDE COPIES OF YOUR
    RELEVANT MEDICAL RECORDS REGARDING ANY EXAMINATION OR TREATMENT TO THE SHERIFF’S
    OFFICE INVESTIGATING UNIT TO BE MADE PART OF THE INVESTIGATION.
    1 have read this statement that I have voluntarily made, consisting of _ pages, and I solemnly swear^hat the facts and
    allegations contained within arc true and correct to the best of my knowledge.  v&/\ /X Of) 6/" C. AV T t\f'
                                                                                                                        (Print Name)




    Complainant’s Signature:                                                               Date:

    State of Illinois )
    County of Cook )

             Signed and sworn to before me on



       OFFICIAL SEAL(fr^ al)
           G REID
NOTARY PUBLIC. STATE OF ILLINOIS 1                                                                              (signature of notary public)
 MTTetWSlCTTOTFEOranXr^
                                   en, under oath or affirmation. In a proceeding or in any matter where by law such oath or adirmation is required, ho
          - ina£resTiaKrlSw&Wi;"tbAerla!
                 cs f                    to the ksue or point in question, which he does not believe Io be true. pgHJURV    A CLASS 3 FELONY*



                    94CV fC Pleass
                            l mail your completed,
                                         hv             t?
                                                   signed and notarized, complaint form to:

                                              Cook County Sheriffs Office of Professional Review
                                                             3026 S, California
                     \                                       Chicago, IL 60608

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